 Case 2:18-cv-00141-JAW Document 1 Filed 04/02/18 Page 1 of 10                    PageID #: 1



                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

MICHAEL GREENE and DEBBIE BERNIER )
on behalf of E.G., their minor child   )
                            Plaintiffs )
                                       )
                     v.                )
                                       )
                                       )
NEW ENGLAND SUZUKI INSTITUTE           )
                                       )
                            Defendant  )


                                         COMPLAINT

          Plaintiffs Michael Greene and Debbie Bernier, parents and guardians of E.G.

(d.o.b.        2005), complain against Defendants New England Suzuki Institute (“NESI”)

as follows:

                                       INTRODUCTION

          1.     This case is brought by the parents of a child with a disability for disability

discrimination and retaliation on the part of NESI regarding Plaintiffs’ and E.G.’s past

participation in NESI’s summer program in 2017 and their participation in the upcoming

program for summer 2018.

          2.     Although E.G. and her parents have attended the NESI summer program

for the past seven years, NESI has decided to bar Plaintiffs’ participation for the

upcoming summer session. NESI has indicated that it will permit E.G. to participate




                                                -1-
    Case 2:18-cv-00141-JAW Document 1 Filed 04/02/18 Page 2 of 10                                   PageID #: 2



alone, but parental participation is a fundamental element of the program. Without it, a

student will lose an essential component of the instruction.

         3.       The decision to bar Plaintiffs from the 2018 program is directly related to

their advocacy during 2016 and 2017 for their child’s need for disability-related

accommodations.

         4.       NESI did not consistently provide the accommodation during the 2016 or

the 2017 programs.

                                   PARTIES AND JURISDICTION

         5.       The Plaintiffs are residents of Windham, County of Cumberland, State of

Maine.

         6.       The New England Suzuki Institute is a Maine-based organization with a

principal place of business in Portland, Maine. The summer program is held in Standish

Maine.

         7.       This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331

and 1332 because it involves federal questions arising under Title III of the Americans

with Disabilities Act 42 U.S.C. § 12182(a) and its implementing regulations 28 CFR §

35.

                                FACTS COMMON TO ALL COUNTS

         8.       E.G. is a 12-year old aspiring musician who is pursuing her musical

education through the Suzuki method.1


1
  The Suzuki Method was developed by Japanese violinist Shinichi Suzuki. He applied the basic principles of
language acquisition to the learning of music. The method’s central features are: parent responsibility, loving


                                                         -2-
 Case 2:18-cv-00141-JAW Document 1 Filed 04/02/18 Page 3 of 10                                     PageID #: 3



        9.       E.G. is also a child with a disability. She suffers from a severe, potentially

life-threatening allergy that can be triggered by exposure to animal fur and saliva. An

allergic reaction can quickly compromise her ability to breathe, speak, and swallow.

        10.      E.G.’s treating physician has recommended that she avoid exposure to

furred animals including dogs and Plaintiffs have provided at least three letters regarding

E.G.’s allergy from the doctor to NESI.

        11.      NESI offers a week-long music program for children each June at Saint

Joseph’s College of Maine on Sebago Lake. NESI’s program is the only summer program

featuring the Suzuki method in the southern Maine region.

        12.      The program consists of music lessons for students of a variety of string

instruments and culminates in a student performance at the end of the week.

        13.      E.G. has attended the NESI program with her parents each summer for the

past seven years. An important component of the NESI program is the involvement of a

child’s parents.

        14.      Plaintiffs have been fully involved in E.G.’s Suzuki-method music training

and have attended the NESI program with her each summer. Attendance at NESI each

summer is an important family event for the Plaintiffs.




encouragement, constant repetition, individual and group lessons, and lessons designed to build music skills within
the context of the music rather than technical exercises. Parent Involvement is a key feature. Parents
attend lessons with the child and serve as “home teachers.” Suzuki Association of America
www.suzukiassociation.org/about/suzuki -method.


                                                        -3-
    Case 2:18-cv-00141-JAW Document 1 Filed 04/02/18 Page 4 of 10                                    PageID #: 4



         15.      The fundamental components of the NESI program are related to musical

instruction, practice, and performance and do not include anything that would necessitate

the presence of animals at the program location.

         16.      Animals are not part of the NESI program, but the administrators have an

informal practice of allowing families to bring pets to the program.

         17.      At the 2016 program, however, one of the participating families brought a

dog to the program.2

         18.      Because of the risk posed to E.G. by the presence of a dog at the program,

Plaintiffs requested that NESI make an accommodation for E.G. so that she would be

able to access the summer music program without danger of being exposed to the dog.

          19.     Plaintiffs provided the NESI administration with a clear explanation that

she needed a learning space, performance space, and eating area that was free from

animals, animal fur, and animal saliva. When NESI requested documentation from E.G.’s

physician, Plaintiffs provided it.

         20.      NESI assured Plaintiffs that E.G. would not be in the same classroom with

the student and the dog, but made no effort to keep the dog out of other areas of the

facility including the dining area.

         21.      Prior to the 2017 summer session, Plaintiffs reminded the NESI

administrators of E.G.’s disability accommodation and made additional requests that




2
 Plaintiffs were told that the dog was a service dog for one of the students, however, they later learned that the dog
was not specially trained to perform work for the student as required by the ADA.


                                                         -4-
 Case 2:18-cv-00141-JAW Document 1 Filed 04/02/18 Page 5 of 10                PageID #: 5



animals not be allowed in proximity to E.G. in the classroom as well as the performance

area and dining area.

       22.    NESI indicated that it would only provide E.G. with an animal-free

classroom for her lessons, but would not be able to provide an animal-free eating area or

performance space.

       23.    NESI did not change its informal practice of allowing pets and did not ask

the participants and their families to leave their pets at home during the week.

       24.    For the most part, E.G. did not encounter animals during the week-long

program.

       25.    However, at the student performance at the conclusion of the week, some

NESI families brought their pet dogs to the performance.

       26.    When they noticed that dogs were at the concert and the dog handlers were

entering the performance space, Plaintiffs became concerned that E.G. might come in to

contact with allergens and have a reaction that would disrupt her performance and

potentially cause a life-threatening reaction.

       27.    Plaintiffs, not NESI administrators or staff, spoke with the dog handlers,

disclosed that their child suffered from a severe allergy, and asked them to take their pets

away from the performance areas. The dog handlers complied with the Plaintiffs’ request.

However, one dog remained just outside the performance space and was handled by

various children who were not aware that the dog was not allowed inside or near the

performance space.




                                             -5-
    Case 2:18-cv-00141-JAW Document 1 Filed 04/02/18 Page 6 of 10                                PageID #: 6



        28.      At conclusion of the performance, the plaintiffs spoke with NESI

administrators about having to confront people during the performance. They expressed

their distress and concern that NESI’s inaction in the face of their request for disability

accommodation for their daughter caused a potentially dangerous situation for her.

        29.      In an attempt to convey the weight of their concern and the seriousness of

their daughter’s condition, Plaintiffs drew a parallel between what it felt like for them to

see a person with a pet dog getting near to E.G. with what it might feel like for any parent

to see a person with a gun in proximity to children. At the time this conversation took

place, the NESI administrators involved in this conversation did not express alarm at the

analogy or indicated that the Plaintiffs’ statements were understood as threatening in any

way.

        30.      In July, Plaintiffs received a letter from NESI’s attorney accusing them of

making a comment that “was incredibly disturbing, inappropriate, and could have been

taken as a direct or veiled threat.” The letter also stated, “In this day and age, making

suggestions about bringing firearms to an area where parents, children, and families are

present is especially wrong.” 3 The letter indicated that NESI had “made a record” of the

statement for future action.

        31.      In October, Plaintiffs received a second letter from NESI’s counsel

indicating that due to Plaintiffs “suggestions that you would bring firearms to a children’s

concert to make attendees feel threatened,” they would not be permitted to participate in

3
 Maine statute does not prohibit firearms in areas where children are present. In fact, Maine has a “constitutional
carry law” which allows individuals who may legally possess firearms to carry them openly. Maine also allows legal
gun owners to carry a concealed handgun without a permit.


                                                       -6-
 Case 2:18-cv-00141-JAW Document 1 Filed 04/02/18 Page 7 of 10                 PageID #: 7



the NESI program in 2018. This letter also indicated that NESI had reported the incident

the police.

         32.   Plaintiffs attempted to enroll E.G. in the program in January. They received

a second letter indicating that they were barred from attending the program with E.G. and

asking whether they wished to designate someone else to act in their place.

         33.   Subsequent communication from NESI referenced E.G.’s father’s behavior

during the 2016 program as “confrontational and aggressive.”

         34.   All of these accusations are directly related to Plaintiffs’ advocacy on

behalf of their daughter related to her need for disability accommodations.


                                     COUNT I
                    Failure to Accommodate 42 U.S.C. § 12182 (2)(ii)

         35.   Plaintiffs repeat the allegations contained in paragraphs 1 through 34

above.

         36.   Plaintiffs’ minor child, E.G. is a person with a disability within the meaning

of the Americans with Disabilities Act (“ADA”) due to her medical diagnosis of severe

allergies to the fur and saliva of animals which affects one or more of her major life

activities.

         37.   Defendants were aware of E.G.’s disability and regarded her as having a

disability following disclosure by her parents and the receipt of a letter from E.G.’s

treating physician regarding the diagnosis.

         38.   E.G. is otherwise qualified to attend the NESI summer program having

successfully pursued musical education for years. E.G. has no disciplinary issues, is


                                              -7-
 Case 2:18-cv-00141-JAW Document 1 Filed 04/02/18 Page 8 of 10                PageID #: 8



regarded as an excellent music student, and her disability-related concerns do not present

a threat, direct or indirect, to other NESI participants or staff.

       39.    Defendants operate a place of public accommodation. As a private

organization offering musical education to children and teens and their families, NESI is

subject to Title III of the ADA, 42 U.S.C. § 12181(7)(A-F).

       40.    Based on the foregoing, Defendants failed to provide reasonable

accommodations or modifications for E.G. during the 2016 and 2017 summer program.

       41.    Plaintiffs are entitled to relief under Title III of the ADA.


                                      COUNT II
                 Retaliation 42 U.S.C. § 12182, et. seq.28 C.F.R. 36.206

       42.    Plaintiffs repeat the allegations contained in paragraphs 1 through 41.

       43.    Plaintiffs’ minor child, E.G. is a person with a disability within the meaning

of the Americans with Disabilities Act (“ADA”) due to her medical diagnosis of severe

allergies to the fur and saliva of animals which affects one or more of her major life

activities.

       44.    Defendants were aware of E.G.’s disability and regarded her as having a

disability following disclosure by her parents and the receipt of a letter from E.G.’s

treating physician regarding the diagnosis.

       45.    E.G. is otherwise qualified to attend the NESI summer program having

successfully pursued musical education for years. E.G. has no disciplinary issues, is

regarded as an excellent music student, and her disability-related concerns do not present

a threat, direct or indirect, to other NESI participants or staff.


                                              -8-
 Case 2:18-cv-00141-JAW Document 1 Filed 04/02/18 Page 9 of 10                  PageID #: 9



        46.   Defendants operate a place of public accommodation. As a private

organization offering musical education to children and teens and their families, NESI is

subject to Title III of the ADA, 42 U.S.C. § 12181(7)(A-F).

        47.   Defendants have excluded Plaintiffs from participation in the program for

2018.

        48.   Based on the foregoing, Defendants are excluding Plaintiffs from its

program on the basis of their advocacy for their minor child’s ADA rights. Defendant’s

basis for baring Plaintiffs from the 2018 summer program—threatening to bring a gun to

a children’s performance--is pretextual.

        49.   Plaintiffs are entitled to relief under the Americans With Disabilities Act,

including injunctive relief to permit them to attend the 2018 program.



        WHEREFORE, Plaintiffs respectfully request that the Court enter judgment in

their favor against New England Suzuki Institute to include (a) declaratory relief that

NESI’s conduct in 2016 and 2017 amounted to a violation of the ADA’s requirement that

places of public accommodation provide reasonable accommodations for persons with

disabilities, and NESI’s refusal to allow Plaintiffs to participate in the summer 2018

program is retaliation in violation of the ADA’s anti-retaliation provisions; (b) injunctive

relief in the form of a reversal of NESI’s prohibition on Plaintiff’s participation in the

2018 program; (c) compensatory and civil penal damages, as are reasonable; (d) recover

of Plaintiffs’ costs of suit, including reimbursement of attorney’s fees and litigation




                                             -9-
Case 2:18-cv-00141-JAW Document 1 Filed 04/02/18 Page 10 of 10            PageID #: 10



expenses under the ADA; and (e) such further relief as the Court may deem just and

proper.


Dated: April 2, 2018
                                                /s/ Amy Phalon
                                                Amy Phalon
                                                Counsel for Plaintiffs

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                                         -10-
